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                   IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                    *
SRIRUPA GHOSHTAGORE, MD
                                    *

             Plaintiff,
v.                                  *       CIVIL NO.: WDQ-04-3442

CLIFTON T. PERKINS HOSPITAL
CENTER                              *

             Defendant.             *

*    *       *      *     *    *    *       *   *     *    *     *       *

                        MEMORANDUM OPINION AND ORDER

             Srirupa Ghoshtagore, MD sued her employer Clifton T.

Perkins Hospital Center (the “Hospital”) for race and national

origin discrimination in violation of Title VII of the Civil Rights

Act of 1964 (“Title VII)1. Pending is the Hospital’s motion for

summary judgment. For the following reasons, the Hospital’s motion

for summary judgment will be granted.

                          I.   BACKGROUND

             Dr. Ghoshtagore is an Asian woman born in Calcutta,

India. See Opp. Ex. 1 (“Ghoshtagore Aff.”)           at p. 1.    Since June

1998, she has worked as a psychiatrist in the Hospital’s maximum

security ward.       See id.   In this position, she is responsible for

twenty-eight of the Hospital’s most violent patients.                See Mot.

Summ. J. Ex. A(“Ghoshtagore Depo.”) at pp. 53, 55.



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      42 U.S.C. §§ 2000e et seq. (2005).

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            On September 29, 2003, a patient physically and verbally

assaulted Dr. Ghoshtagore.        See id. at pp. 18-19. As a result, she

sustained      physical    injuries    and    was   on    medical   leave    for

approximately two months.        See id. at pp. 20-21, 24.          On December

15, 2003, Dr. Ghoshtagore requested a transfer to either the medium

or minimum security wards, where the patients are not considered

violent.    See id. at p. 76. The Hospital, however, denied her

request.    See id.

            In January 2004, Dr. Ghoshtagore contacted the Hospital’s

Fair Practices Officer, Hilda Davis, to discuss the denial of her

transfer request.         See Mot. Summ. J. Ex. D (“Davis Aff.”) at ¶3.

To address Dr. Ghoshtagore’s concerns, Davis thereafter arranged a

meeting    with   the     Hospital’s   CEO,    Richard     Fragala,   Clinical

Director, Dennis Barton, and Director of Human Resources, Michael

Faulkner.      See id. at ¶6.     During this meeting, Ghoshtagore was

offered a transfer to one of the Hospital’s intake units.               See id.

Although an intake unit is within a maximum security ward, the unit

is   staffed    with    two   psychiatrists     who      are   responsible   for

approximately nine to ten patients each.              See Mot. Summ. J. Ex. B

(“Barton Aff.”) at ¶9.        The danger of being assaulted, therefore,

is significantly reduced.        See Opp. Ex. 1 (“Ghoshtagore Aff.”) at

pp. 5-6.    Dr. Ghoshtagore, however, declined this offer.             See Mot.

Summ. J. Ex. A (“Ghoshtagore Depo.”) at pp. 80, 83.

            On July 21, 2004, Dr. Ghoshtagore filed a charge of


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discrimination with the Maryland Commission on Human Relations and

the United States Equal Employment Opportunity Commission (the

“EEOC”). On July 27, 2004, the EEOC issued Dr. Ghoshtagore a right

to sue letter.       On October 26, 2004, Dr. Ghoshtagore filed this

suit.2

                           II. LEGAL DISCUSSION

A.           Motion for Summary Judgment

             1. Standard of Review

             Summary judgment is appropriate when there is no genuine

issue of material fact, and the moving party is entitled to

judgment as a matter of law.         In Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 249 (1986), the Supreme Court explained that, in

considering a motion for summary judgment, "the judge's function is

not . . . to weigh the evidence and determine the truth of the

matter but to determine whether there is a genuine issue for

trial."      A dispute about a material fact is genuine "if the

evidence is such that a reasonable jury could return a

verdict for the nonmoving party."               Id. at 248.       Thus, "the judge

must ask ... whether a fair-minded jury could return a verdict for

the [nonmoving party] on the evidence presented."                   Id. at 252.

             The   court    must   view       the   facts   and    the   reasonable


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      On May 5, 2005, Dr. Ghoshtagore was again assaulted by a
maximum security ward patient. See Opp. Ex. 1 (“Ghoshtagore
Aff.”) at p.4.   She requested another transfer to a medium or
minimum security ward. However, the Hospital denied her request.
See id.

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inferences drawn therefrom "in the light most favorable to the

party opposing the motion," Matsushita Electric Industrial Company

v. Zenith Radio Corp., 475 U.S. 574, 587 (1986), but the opponent

must produce evidence upon which a reasonable fact finder could

rely.     Celotex    Corp.   v.   Catrett,   477   U.S.   317    (1986).     A

“scintilla” of evidence is not sufficient to preclude summary

judgment.    Anderson, 477 U.S. at 252.

            2.     Denial of Transfer Request

            Dr. Ghoshtagore maintains that the Hospital denied her

transfer request because of her race and national origin.

            Generally, a denial of transfer does not implicate

Title VII.       Boone v. Goldin, 178 F.3d 253, 256 (4th Cir. 1999).

However, a Title VII claim may arise when the denial had some

“significant detrimental effect” on the employee.               Id.   Although

significant detrimental effects generally include change in pay,

rank and responsibility, exposure to dangerous conditions is also

recognized as a significant detrimental effect.           See Von Gunten v.

State of Maryland, 243 F. 3d 858, 868 (4th Cir. 2001); Boone, 178

F.3d at 256 (recognizing that working conditions are a factor in

considering whether an employer’s actions rises to Title VII

liability). As a transfer to a medium or minimum security ward may

have significantly improved Dr. Ghoshtagore’s working conditions,

Title VII applies.

            Title VII provides that it “shall be unlawful to


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discriminate     against     any     individual    with     respect    to    her

compensation, terms, conditions, or privileges of employment,

because of such individual's race or national origin." 42 U.S.C. §§

2000e-2(a).

             The elements of a Title VII discrimination claim are: (1)

membership in a protected class; (2) adverse employment action; and

(3)unfavorable action supporting an inference of discrimination.

McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973).

             This initial showing requires the plaintiff to

produce "facts which would enable the fact-finder to conclude with

reasonable     probability    that    in   the    absence   of   any    further

explanation, the adverse employment action was the product of

discrimination." Mitchell v. Data General Corp., 12 F.3d 1310, 1315

(4th Cir. 1993).     A prima facie case merely creates a presumption

of discrimination.      The employer can rebut this presumption by

articulating     a   legitimate,     nondiscriminatory      reason     for   the

allegedly adverse employment action.              See Reeves v. Sanderson

Plumbing Products, Inc., 530 U.S. 133, 142 (2000).               The plaintiff

always bears the ultimate burden of proving that the employer’s

articulated reasons were not its true reasons but were a pretext

for discrimination.      Evans v. Tech. Applications & Serv. Co., 80

F.3d 954, 959 (4th Cir. 1996) (citing Texas Dep’t of Comm. Affairs

v. Burdine, 450 U.S. 248, 253 (1981)).

             The Defendant contends that the Plaintiff’s claim fails


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because she cannot establish a prima facie case.                       The Plaintiff

counters by stating that she has adduced sufficient evidence for a

prima facie case.        Even assuming that the Plaintiff can establish

a prima facie case, her claim fails. The Defendant offers a

nondiscriminatory reason for its denial of the Plaintiff’s transfer

request.      The Defendant asserts that there were no available

positions in either the medium or minimum security wards.                              The

record     demonstrates        that    during       the   Plaintiff’s        tenure     no

psychiatrist was transferred or hired for either the medium or

minimum security wards.          See Mot. Summ. J. Ex. B (“Barton Aff.”) at

¶¶6-7; Ex. C (“Faulkner Aff.”) at ¶¶6-7.

             The Plaintiff, however, asserts that upon a former

psychiatrist’s retirement, there was an available position in the

medium security ward.          See Opp. Ex. 1 (“Ghoshtagore Aff.”) at p. 2.

The Plaintiff does not offer any evidence to substantiate this

claim.     See Bouchat v. Baltimore Ravens Football Club, Inc., 346

F.3d 514, 526 (4th Cir. 2003)(“unsupported speculation is not

sufficient to defeat a summary judgment motion”).                      Even assuming

that a psychiatrist retired, this alone does not establish that

there was an available position.                  The undisputed evidence is that

the   alleged    vacancy       was    never       advertised,   and    the    Plaintiff

acknowledges      that    it     was    never       filled.      See    Opp.     Ex.     1

(“Ghoshtagore Aff.”) at p. 2.             The Plaintiff’s affidavit concedes

that none of the several psychiatrists hired since the alleged


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position became available was given that position.                See id. at pp.

2-3;    See also Janey v. N. Hess Shoes, Inc., 268 F.Supp. 2d 616,

625 (D.Md. 2003) (if plaintiff cannot establish that alleged open

position was filled by someone--particularly someone outside of

plaintiff’s    protected     class--plaintiff’s       discrimination        claim

fails).

            The Plaintiff also attempts to rebut the Defendant’s

proffered reason by stating that two other psychiatrists were

immediately    transferred     following      assaults.     See    Opp.    Ex.    1

(“Ghoshtagore Aff.”) at p.3. This is insufficient to survive

summary judgment.         The Plaintiff does not state whether these

employees were transferred to the medium or minimum security wards.

Nor does the Plaintiff state that these assaults occurred when the

Defendant contends that there were no available positions in the

less dangerous wards. Instead, she simply states that “previously”

other psychiatrists had been assaulted and immediately transferred.

See id.

            It is undisputed that after the Plaintiff’s September

2003 assault, she was offered a transfer to an intake unit.                 In her

affidavit, the Plaintiff admits that an intake unit position is

more desirable than her current position because the likelihood of

being assaulted by a patient is diminished.              See id. at pp. 5-6.

The    Plaintiff’s   own    evidence,       therefore,    suggests    that      the

Defendant    tried   to    accommodate      the   Plaintiff   after       she   was


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assaulted. The Plaintiff, however, is merely dissatisfied with the

Defendant’s choice of accommodation.             In her opposition, the

Plaintiff suggests that the Defendant should have given her a

position in the medium or minimum security wards currently filled

by a Caucasian American and transferred that physician to the

maximum security ward.          See Opp. at p. 12.       The Court’s sole

concern   is    whether   the    Defendant’s    reason   for    denying   the

Plaintiff’s transfer request was discriminatory, not whether the

Defendant should have displaced another employee to accommodate the

Plaintiff.     Although the Court sympathizes with the Plaintiff, it

will not substitute its judgment for the employer.             See Evans, 875

F.Supp. at 1120 (“In a Title VII or ADEA case, a court should not

act as a “super-personnel department”).

             As Dr. Ghoshtagore has offered no evidence demonstrating

that the Hospital’s reason for denying her transfer request was

pretextual, there is no genuine dispute as to a material fact.

                                   CONCLUSION

             For the reasons discussed above, the Hospital’s motion

for summary judgment will be granted.




November 7, 2005                            /s/
Date                                William D. Quarles, Jr.
                                    United States District Judge




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